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    1  RIMON, P.C.
      Mark Lee (SBN 94103)
    2 mark.lee@rimonlaw.com
      2029 Century Park East, Suite 400N
    3 Los Angeles, California 90067
      Telephone/Facsimile: 213.375.3811
    4
      RIMON, P.C.
    5 Zheng Liu (SBN: 229311)
      zheng.liu@rimonlaw.com
    6 800 Oak Grove Avenue, Suite 250
      Menlo Park, California 94025
    7 Telephone/Facsimile: 650.461.4433
    8 Attorneys for Defendants
      INTERFOCUS INC. d.b.a. www.patpat.com
    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                    Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                             DEFENDANT AND
                   Plaintiff,                     COUNTERCLAIM PLAINTIFF
   15                                             INTERFOCUS, INC. D.B.A.
            v.                                    WWW.PATPAT.COM’S
   16                                             RESPONSE TO PLAINTIFF,
      INTERFOCUS, INC. d.b.a.                     NEMAN BROTHERS & ASSOC.,
   17 www.patpat.com, a Delaware                  INC.’S EVIDENTIARY
      Corporation; CAN WANG, and                  OBJECTIONS TO DECLARATION
   18 individual, and DOES 1-10, inclusive.,      OF WEIWEI LE
   19              Defendants.
                                                  Date: August 23, 2021
   20                                             Time: 10:00 am
      INTERFOCUS, INC. d.b.a.                     Courtroom: 8D
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,       The Hon. Christina A. Snyder
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28

         INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
                ASSOC., INC.’S EVIDENTIARY OBJECTIONS TO DECLARATION OF WEIWEI LE
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    1         Plaintiff, NEMAN BROTHERS & ASSOC., INC. objects to certain portions
    2 of the Declaration of Weiwei Le and related exhibits submitted by Defendant,
    3 INTERFOCUS, INC. in Opposition to Defendant’s Motion for Summary Judgment
    4 and Motion for Partial Summary Judgment on Counterclaim when Defendant filed
    5 its reply briefs herein. Plaintiff’s objections should be overruled for the following
    6 reasons:
    7 I.      RESPONSE TO OBJECTIONS TO THE DECLARATION OF
              WEIWEI LE
    8
    9         1.     Objection to First Paragraph No. 2
   10         Legal conclusion/hearsay/lack of foundation/documents speak for themselves
   11         A. First Paragraph No. 2
   12         In my capacity as Director of Operations for InterFocus over the past five
   13 years, I have become familiar with the business of InterFocus. InterFocus sells
   14 goods to consumers exclusively through its website at https://us.patpat.com/.
   15 InterFocus is a U.S. company that sells to U.S. consumers, but it does not
   16 manufacture the goods it sells, all of which come from other companies, including
   17 suppliers located in China. InterFocus also outsources many of its IT, shipping and
   18 other business functions, I handle various business issues for Interfocus, such as
   19 Legal, HR, Accounting, and projects that need to be coordinated between Interfocus
   20 and the Chinese companies with whom it does business in delivering the goods
   21 offered for sale on its online platform.
   22         B. Interfocus’ Response
   23         In this paragraph, Weiwei Le simply lays the foundation for the statements
   24 she makes therein. None of these statements are legal conclusions, and as Director
   25 of Operations for Interfocus, she is the permitted to make statements on behalf of
   26 and about the company.
   27         2.     Objection to First Paragraph No. 3
   28         Legal conclusion/hearsay/lack of foundation/documents speak for themselves
                                                 2
           INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
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    1                   A. First Paragraph No. 3
    2         As the Director of Operations, I also work closely with InterFocus’ attorneys
    3 for U.S. legal issues, including two lawsuits that Neman Brothers filed against
    4 InterFocus. For the two Neman Brothers’ cases, my involvement includes, but was
    5 and is not limited to, reviewing and forwarding all the physical letters that Interfocus
    6 receives from Neman Brothers; investigations in response to questions raised by
    7 opposing counsel or InterFocus’ attorneys; following up on and obtaining the
    8 answers to all questions raised in the litigation to the extent that information is
    9 within InterFocus’ possession, custody, or control; coordinating with InterFocus’
   10 employees and, as needed, other companies with whom InterFocus does business to
   11 obtain information. I am also responsible for gathering factual information and
   12 collecting documents relating to the lawsuits.
   13                   B. Interfocus’ Response
   14
              In this paragraph, Weiwei Le simply lays the foundation for the statements
   15
        she makes therein. None of these statements are legal conclusions and as Director
   16
        of Operations for Interfocus, she is the permitted to make statements on behalf of
   17
        and about the company.
   18
   19
              3.    Objection to Second Paragraph No. 2 (sic)
   20
              Expert’s testimony without proper foundation/Legal conclusion without
   21
        proper foundation
   22
                        A. Second Paragraph No. 2
   23
              As I mentioned above, this case is not the first time InterFocus has been sued
   24
        by Neman Brothers. Neman Brothers first sued InterFocus for copyright
   25
        infringement in an earlier action also called Neman Brothers & Assoc. Inc v.
   26
        Interfocus, Inc., Case No. 2:19-CV-10112 that was filed in 2019.
   27
                        B. Interfocus’ Response
   28
                                                  3
          INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
                 ASSOC., INC.’S EVIDENTIARY OBJECTIONS TO DECLARATION OF WEIWEI LE
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    1         This statement is not a legal conclusion, nor does it constitute or require
    2 expert testimony. It is a statement of fact to which Weiwei Le can testify as to as
    3 Director of Operations for Interfocus. Further, it describes a fact of which the Court
    4 can take judicial notice.
    5
              4.     Objection to Second Paragraph No. 3 (sic)
    6
              Documents speak for themselves/mischaracterization/lack of foundation
    7
                        A. Second Paragraph No. 3
    8
              Although InterFocus did not believe it was liable for copyright infringement
    9
        in the earlier action, the investigation into the volume of sales I supervised indicated
   10
        that very few goods that Neman Brothers had alleged infringed its copyrights had
   11
        been sold by InterFocus, and thus that spending money to defend the case did not
   12
        make economic sense. Due to the low volume of sales of the allegedly infringed
   13
        goods, and to avoid paying litigation-related legal fees in a dispute in which little
   14
        was at stake, InterFocus decided to settle Neman Brothers’ suit for what we
   15
        considered a “nuisance value” amount. InterFocus entered into a confidential
   16
        settlement agreement with Neman Brothers for that reason.
   17
                        B. Interfocus’ Response
   18
   19         As Director of Operations for Interfocus, Weiwei Le is the permitted to make
   20 statements on behalf of and about the company and is testifying to provide context
   21 for its entry into a settlement that InterFocus argues is a basis for granting its
   22 Motion and denying Neman Brothers’ motion.
   23         5.     Objection to Paragraph No. 4
   24         Documents speak for themselves/mischaracterization/lack of foundation/legal
   25 conclusion
   26                   A. Paragraph No. 4
   27         Because the settlement agreement is confidential, I cannot describe all of its
   28 terms here. However, among other things, that settlement agreement released
                                              4
          INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
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    1 InterFocus from liability for all copyright infringement claims Neman Brothers
    2 asserted or could have asserted in that action. Neman Brothers also agreed that it
    3 will not file suit for future infringements until 30 days after it gave InterFocus
    4 written notice of them, so that InterFocus could cure them by removing the allegedly
    5 infringing goods from its website platform within seven business days as described
    6 in the settlement agreement. The terms are, of course, set forth in the settlement
    7 agreement itself. A true and correct but redacted copy of the settlement agreement
    8 signed by the CEO of InterFocus is attached is Exhibit 2; a complete copy of the
    9 settlement agreement is concurrently filed under seal as Exhibit 3. As the Court can
   10 see, that agreement was executed in March 2020.
   11                   B. Interfocus’ Response
   12
              As Director of Operations for Interfocus, Weiwei Le is the permitted to make
   13
        statements on behalf of and about the company and is testifying to provide context
   14
        for a settlement that InterFocus argues is a basis for granting its Motion, as well as
   15
        denying Neman Brothers’ motion.
   16
   17
              6.     Objection to Paragraph No. 10
   18
              Misstatement of facts (Interfocus’ letter on October 5, 2020 admits the
   19
        garments were not removed until September 16-17, 2020. Ex. 33)
   20
                        A. Paragraph No. 10
   21
              In addition, our investigation determined that three of the alleged
   22
        infringements had been removed from InterFocus’ online platform since before
   23
        InterFocus entered into the settlement agreement with Neman Brothers in March
   24
        2020. Those three alleged infringements are as follows:
   25
   26
   27
   28
                                                   5
          INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
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    1
    2
    3
    4
    5                   B. Interfocus’ Response
    6
              As explained in paragraph 14 of Ms. Le’s Motion declaration, the the
    7
        referenced Exhibit 5 is inaccurate. “[T]he dates on which the alleged infringements
    8
        were removed from InterFocus’ platform were erroneously stated to be 2020,” in the
    9
        referenced Exhibit 5, “when in fact, they had been removed even earlier in 2019.”
   10
        See also, Opposition Le Decl. paragraph 4, which further explains that error. The
   11
        testimony in paragraph 10 is consistent with that testimony, correct, and should be
   12
        admitted.
   13
   14         7.    Objection to Paragraph No. 13
   15         Hearsay
   16                   A. Paragraph No. 13
   17         Once I confirmed that InterFocus had removed the alleged infringements
   18 from its platform as provided in the previous settlement agreement, I asked
   19 InterFocus’ then counsel to so advise Neman Brothers in a letter. Attached as
   20 Exhibit 5 is a true and correct copy of the letter dated October 5, 2020 sent to
   21 Neman Brother’s counsel.
   22
   23
   24
   25
   26
   27
   28
                                                  6
          INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
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    1                    B. Interfocus’ Response
    2
               This statement in the declaration itself is not an out-of-court statement but
    3
        being offered as part of a sworn declaration filed in connection with Neman
    4
        Brothers’ Motion to show what InterFocus did and what information it provided to
    5
        Neman Brothers. Moreover, Neman Brothers already submitted the letter in its
    6
        objection to the preceding paragraph and cites to the letter repeatedly in its own
    7
        Motion. As such, it is now foreclosed from objecting to admission of the letter now.
    8
    9          8.     Objection to Paragraph No. 14
   10
               The chart is hearsay (it was prepared in anticipation of a litigation, not a
   11
        business record created and maintained in the ordinary course of business.
   12
        Interfocus never produced real business records such as invoices, order, etc.) Lack
   13
        of foundation as to the claimed error in stating the year. (no real business record
   14
        was ever produced to show they were taken down in 2019.)
   15
   16                    A. Paragraph No. 141
   17          In connection with our investigation, I requested that a chart be prepared that
   18 included all six of the alleged infringing garments described in the September 2020
   19 letter and when each garment had been removed from InterFocus’ online platform, I
   20 provided InterFocus’ then counsel with an early version of that chart, and it appears
   21 in Exhibit 5. However, further investigation determined that in two instances, the
   22 dates on which the alleged infringements were removed from InterFocus’ platform
   23 were erroneously stated to be 2020, when in fact, they had been removed even
   24
   25
        1
       This response accurately reproduces the declaration testimony to which Naman
   26 Brothers objects, but the Court should note that, as explained in a subsequent
   27 declaration, one of the dates shown on this chart is incorrect, and that InterForucs
      actually stopped sales of that garment in 2019. See Opp. Declaration of Weiwei Le ¶
   28 4, Dkt. No. 46-1.
                                                 7
            INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
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    1 earlier in 2019. An updated chart that truly and accurately describes when all six of
    2 the alleged infringements Neman Brothers described in its September 15, 2020 letter
    3 were removed from InterFocus’ platform is set forth below[ZL1].
    4        ID No.                    Image                     Take Down Date

    5        45696                                                      9/16/2020

    6
    7
    8
             458707                                                     9/17/2020
    9
   10        385561                                                     7/22/2019

   11
   12
             458707                                                     9/17/2020
   13
   14
   15
             399267                                                     9/14/2020
   16
   17
   18        414159                                                     8/28/2019

   19
   20
                       B. Interfocus’ Response
   21
   22        This statement is not an out-of-court statement, but being offered as part of a
   23 sworn declaration filed in connection with InterFocus’ Motions, that summarizes the
   24 content of voluminous writings and is therefore admissible pursuant to Fed R. Evid.
   25 1006. It is independently verified by the witness’s personal observation that all six
   26 of the objected to garments had been removed from InterFocus’ website within
   27 seven days of receiving Neman Brothers’ September 15 letter. (See Motion Le Decl.
   28 ¶7, 9, 12 and 13.) As Director of Operations for Interfocus, Weiwei Le is permitted
                                                8
          INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
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    1 to make statements on behalf of and about the company and is testifying to provide
    2 support that counters topics that Neman Brothers argues as a basis for granting its
    3 Motion. Further, contrary to Neman Brothers’ assertion, InterFocus did produce
    4 from the computer database it maintains in the normal course of business true and
    5 correct copies of print screens of underlying records that show the dates on which
    6 three garments’ sales were stopped in 2020 in compliance with Fed R. Evidence
    7 1006 as depicted in the above chart, and from that same database InterFocus
    8 concurrently makes available prints screens of underlying records that show the
    9 dates on which three garments’ sales were stopped in 2019 as depicted in the above
   10 chart. See Reply Lee Decl. ¶¶ 1-2; Reply Le Decl. ¶ 2.
   11
   12         9.     Objection to Paragraph No. 17 (15 in Decl.)
   13
              Misstatement of facts (it simply makes no sense to say she was confused with
   14
        the complaint after failing to settle the dispute.)
   15
   16                    A. Paragraph No. 17
   17         After the October response letter, through their counsel, Neman Brothers and
   18 InterFocus tried to settle their dispute by negotiating an overall license agreement
   19 between them, but they were not able to do so. I am not aware of any written claim
   20 of new alleged infringements in those settlement discussions. Neman Brothers filed
   21 its complaint alleging copyright infringement against InterFocus on December
   22 9,2020. I was confused by the complaint, because it identified the same alleged
   23 infringements Neman Brothers had identified in its September 15,2020 letter
   24 (Exhibit 4), even though we had removed all of those alleged infringements from
   25 our platform before we entered into the previous settlement agreement or within
   26 seven business days after receiving Neman Brothers' September 15, 2020 letter as
   27 provided in the settlement agreement.
   28
                                                    9
          INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
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     1                  B. Interfocus’ Response
     2        Whether Neman Brothers believes that this statement “makes no sense” is
     3 irrelevant, and in any event mischaracterizes what Ms. Le testified to. Weiwei Le is
     4 making a statement of fact to illustrate state of mind of the declarant and the
     5 company to provide context to the issues brought forth by Neman Brothers’ Motion.
     6        10.    Objection No. 19 (17 in Decl)
     7        Lack of foundation/irrelevant
     8                  A. Paragraph No. 19 (17 in Decl.)
     9        I have spent more than 100 hours on this Neman Brothers case. InterFocus
   10 has also incurred significant legal fees defending this action.
   11                   B. Interfocus’ Response
   12         This statement is relevant to show InterFocus’ damage to support its breach of
   13 contract counterclaim,
   14
   15                                             RIMON, P.C.
   16 Dated: August 9, 2021
   17                                         By: /s/ Mark S. Lee
   18                                             Mark S. Lee
                                                  Zheng Liu
   19
                                                  Attorneys for Defendants and
   20                                             Counterclaim Plaintiffs
   21                                             INTERFOCUS, INC. d.b.a.
                                                  www.patpat.com
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                                                  10
          INTERFOCUS, INC. D.B.A. WWW.PATPAT.COM’S RESPONSE TO PLAINTIFF, NEMAN BROTHERS &
                 ASSOC., INC.’S EVIDENTIARY OBJECTIONS TO DECLARATION OF WEIWEI LE
